Case 2:18-cv-03893-RGK-AGR Document 70-4 Filed 04/17/19 Page 1 of 16 Page ID #:661




                    EXHIBIT B
Case 2:18-cv-03893-RGK-AGR Document 70-4 Filed 04/17/19 Page 2 of 16 Page ID #:662
                                    Kristin Cope - 1/30/2019
                                                                                     1

                          UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

              EDWARDO MUNOZ,                     )
              Individually and on                )
              behalf of all others               )
              similarly situated,                )
                                                 ) CIVIL ACTION
                 Plaintiff,                      ) NO.:
                                                 ) 2:18-CV-03893-RGK-AGR
              VS.                                )
                                                 )
              7-ELEVEN, INC., a Texas            )
              corporation,                       )
                                                 )
                 Defendant.                      )


                        ______________________________________
                                  ORAL DEPOSITION OF
                                     KRISTIN COPE
                                   JANUARY 30, 2019
                        ______________________________________




                 ORAL DEPOSITION OF KRISTIN COPE, produced as a
           30(b)(6) witness at the instance of the PLAINTIFF, and
           duly sworn, was taken in the above-styled and numbered
           cause on the 30th of January, 2019, from 9:34 a.m. to
           3:01 p.m., before STEFANIE COX, CSR in and for the State
           of Texas, reported by machine shorthand, at the offices
           of Collins Realtime Reporting, 325 N. Saint Paul Street,
           Suite 2575, Dallas, Texas 75201.



                    Collins Realtime Reporting - Dallas, Texas - 214-220-2449
Case 2:18-cv-03893-RGK-AGR Document 70-4 Filed 04/17/19 Page 3 of 16 Page ID #:663
                               Kristin Cope - 1/30/2019
                                                                                 52

      1    7-Eleven's Disclosure Form during the Relevant Period of
      2    Time.
      3                       Did you do anything to prepare yourself to
      4    testify on Topic 11?
      5          A.    Yes, reviewed e-mails with internal and
      6    external counsel yesterday.
      7                       MS. TROTTER:     And I just had an objection
      8    here that pursuant to our meet-and-confer efforts, I
      9    think the topic was slightly revised because we'd agreed
     10    that the form that the witness will testify about is
     11    only the form that's at issue in the case, but we
     12    agreed, and I think this is at your request, that she
     13    would be able to discuss, you know, what is presented at
     14    the same time that that form is presented to the
     15    applicant as noted in our objection and in our
     16    confirmation of our meet-and-confer conference call.
     17          Q.    Since -- the thicker disclosure form at issue
     18    in this case is the one that was provided to Mr. Munoz;
     19    we agree on that, right?
     20          A.    Correct.
     21          Q.    Okay.    That same FCRA form was used for
     22    corporate employees, above-store employees, meaning
     23    managers or executives, people who don't actually work
     24    in the stores, correct?
     25          A.    Correct.



           Collins Realtime Reporting - Dallas, Texas - 214-220-2449
Case 2:18-cv-03893-RGK-AGR Document 70-4 Filed 04/17/19 Page 4 of 16 Page ID #:664
                                Kristin Cope - 1/30/2019
                                                                                 53

      1          Q.     And those above-store employees used that same
      2    FCRA form starting sometime in 2016, correct?
      3          A.     Correct.
      4          Q.     All right.     And then in June of 2017, that
      5    same FCRA form was then applied to the corporate store
      6    employees, like Munoz, correct?
      7          A.     That is correct.
      8          Q.     Okay.   From the time that that FCRA form was
      9    used in 2016 with the above-store folks, through the
     10    time of Mr. Munoz's hiring and subsequent termination,
     11    were there any changes made to the FCRA form?
     12          A.     There was a change to the name of the company.
     13          Q.     Aside from TalentWise becoming Sterling, were
     14    there any other changes?
     15          A.     No.
     16          Q.     So do we agree that the disclosure form
     17    provided to Munoz is, in substance, the same disclosure
     18    form that was in use for the above-store employees,
     19    starting sometime in 2016, and then all the corporate
     20    store employees starting June 2017?
     21          A.     That's correct.
     22                       MS. TROTTER:     And that's -- with that
     23    understanding is where we based our numbers that we
     24    provided in discovery.        So I think we are all on the
     25    same page.



           Collins Realtime Reporting - Dallas, Texas - 214-220-2449
Case 2:18-cv-03893-RGK-AGR Document 70-4 Filed 04/17/19 Page 5 of 16 Page ID #:665
                                Kristin Cope - 1/30/2019
                                                                                 66

      1          Q.     Okay.    You testified earlier that Munoz
      2    applied to work on January 28th, 2018.            Does this
      3    information make you want to change your answer?
      4          A.     Yes.    I misspoke.    The background check was
      5    submitted for processing on 1/28.
      6          Q.     Okay.    But when did Munoz actually apply to
      7    work?
      8          A.     I don't know that.
      9          Q.     Okay.    Ostensibly, it was sometime before
     10    January 28th?
     11          A.     It would have been January 26th or before.
     12          Q.     Okay.    I notice that this document on the
     13    first page, which is marked -- is that SEV by the way?
     14          A.     Yes.
     15          Q.     What does SEV stand for, do you know?
     16                        MS. TROTTER:    That's our internal Bates
     17    number.
     18                        MR. WOODROW:    Okay.
     19                        MS. TROTTER:    So it's a law firm, how we
     20    track the Bates number and what our paralegal uses to
     21    identify.
     22                        MR. WOODROW:    Okay.    That was --
     23                        MS. TROTTER:    I believe it's probably 7.
     24                        MR. WOODROW:    That was the big question.
     25    Okay.



           Collins Realtime Reporting - Dallas, Texas - 214-220-2449
Case 2:18-cv-03893-RGK-AGR Document 70-4 Filed 04/17/19 Page 6 of 16 Page ID #:666
                                Kristin Cope - 1/30/2019
                                                                                 82

      1           Q.    Do you know which states those are?
      2           A.    I do not.
      3           Q.    Some of the forms in Munoz's new hire
      4    paperwork are specific to California, correct?
      5           A.    Correct.
      6           Q.    Okay.    Does the system do that automatically
      7    based on store location?
      8           A.    Yes.
      9           Q.    So turning to page 3, at the top it says,
     10    Disclosure Regarding Background Investigations.
     11                        Is that correct?
     12           A.    That is correct.
     13           Q.    And it says, The purpose of maintaining the
     14    safety and security of our stores, customers, employees,
     15    and property, 7-Eleven, Inc., may order a "consumer
     16    report," "background report," or "investigative consumer
     17    report" on you in connection with your application for
     18    employment or your ongoing employment with 7-Eleven,
     19    Inc.
     20                        Do you see that?
     21           A.    I do.
     22           Q.    Okay.    And is that a correct statement?
     23           A.    That is correct.
     24           Q.    Okay.    Do you know the difference between a
     25    consumer report and an investigative consumer report?



           Collins Realtime Reporting - Dallas, Texas - 214-220-2449
Case 2:18-cv-03893-RGK-AGR Document 70-4 Filed 04/17/19 Page 7 of 16 Page ID #:667
                               Kristin Cope - 1/30/2019
                                                                                 83

      1          A.     I personally do, yes.
      2          Q.     Are you -- I want to be clear, are you
      3    testifying on behalf of yourself personally or on behalf
      4    of 7-Eleven?
      5                       MS. TROTTER:     You asked her do you know.
      6    I think she's just trying to --
      7          Q.     You are 7-Eleven for the purposes of today,
      8    correct?
      9          A.     Correct.
     10                       MS. TROTTER:     The question as phrased was
     11    a little ambiguous, which is what she was trying to --
     12    it's an awkward question --
     13                       MR. WOODROW:     Sure.
     14                       MS. TROTTER:     -- to ask --
     15                       MR. WOODROW:     Sure.
     16                       MS. TROTTER:     -- a person -- a
     17    knowledgeable witness, that phrase, so it probably makes
     18    sense the way she clarified it.
     19          Q.     (BY MR. WOODROW)      Fair enough.     What's the
     20    difference?
     21          A.     So a consumer report, an example would be a
     22    credit check, a background is a criminal and criminal
     23    history, and investigative is a personal reference.
     24          Q.     So for investigative consumer reports, is that
     25    more where you're going back and calling references?



           Collins Realtime Reporting - Dallas, Texas - 214-220-2449
Case 2:18-cv-03893-RGK-AGR Document 70-4 Filed 04/17/19 Page 8 of 16 Page ID #:668
                               Kristin Cope - 1/30/2019
                                                                                 87

      1                       If you don't understand the question, you
      2    can advise counsel.
      3          A.    I agree the words on the page are the words on
      4    the page.
      5          Q.    Okay.    Then the next paragraph, the report may
      6    contain information from federal, state, and other
      7    agencies, learning institutions, information service
      8    bureaus, past/present employers and other individuals or
      9    sources concerning your character, general reputation,
     10    personal characteristics, mode of living, work habits,
     11    and/or credit standing.        Such information may include
     12    your driving history, your credit history, your
     13    education history, records of military service,
     14    insurance claims involving you, your criminal history,
     15    and your employment history, including the reasons for
     16    termination.
     17                       You had mentioned before that a background
     18    report was for criminal history.          Does a background
     19    report cover more than criminal history?
     20                       MS. TROTTER:     Vague and ambiguous also.
     21    I think as phrased it calls for a legal conclusion.
     22          Q.    You can answer the question if you know.
     23          A.    I'm not aware.
     24          Q.    But before you did say that when you see
     25    background report as compared to consumer report, you



           Collins Realtime Reporting - Dallas, Texas - 214-220-2449
Case 2:18-cv-03893-RGK-AGR Document 70-4 Filed 04/17/19 Page 9 of 16 Page ID #:669
                                Kristin Cope - 1/30/2019
                                                                                 88

      1    said that a consumer report is a credit check whereas
      2    the background report is for criminal history.              Do you
      3    remember testifying that way?
      4          A.     Yes.
      5          Q.     And is that still accurate?
      6          A.     Yes.
      7          Q.     The in -- the paragraph continues, the
      8    information contained in the report may be obtained from
      9    private and/or public record sources and the
     10    investigation can also involve personal interviews with
     11    sources, such as your current and past employers,
     12    private -- strike that -- sources such as your current
     13    and past employers, friends, family members, or
     14    associates.
     15                        You see that sentence?
     16          A.     I do.
     17          Q.     And does that tie in to the investigative
     18    consumer report that you described earlier?
     19          A.     It does.
     20          Q.     And that language is in there, just in case
     21    you guys need to do that, correct, you don't actually do
     22    it?
     23          A.     We do not do that today.
     24          Q.     Did you do that at any point from 2016 on to
     25    today?



           Collins Realtime Reporting - Dallas, Texas - 214-220-2449
Case 2:18-cv-03893-RGK-AGR Document 70-4 Filed 04/17/19 Page 10 of 16 Page ID
                                  #:670
                             Kristin Cope - 1/30/2019
                                                                                89

    1          A.    We have not.
    2          Q.    Information included in the report will only
    3    be requested when permitted by law, and where such
    4    information is substantially related to the duties and
    5    responsibilities of the position for which you are
    6    applying.     7-Eleven, Inc., will not obtain information
    7    about your credit history, creditworthiness, credit
    8    standing, or credit capacity unless permitted by
    9    applicable state and local law.          You have the right,
   10    upon written request made within a reasonable time after
   11    receipt of the notice, to request disclosure of the
   12    nature and scope of any investigative consumer report
   13    from 7-Eleven, Inc.
   14                       Do you see that language?
   15          A.    I do.
   16          Q.    The reports being described in that paragraph,
   17    are they consumer reports, background reports, and
   18    investigative consumer reports?
   19          A.    Yes.
   20          Q.    So all three are being described in one
   21    paragraph, correct?
   22          A.    That is correct.
   23          Q.    The next sentence, the Fair Credit Reporting
   24    Act provides you with specific rights in dealing with
   25    consumer reporting agencies.         You will find these rights



        Collins Realtime Reporting - Dallas, Texas - 214-220-2449
Case 2:18-cv-03893-RGK-AGR Document 70-4 Filed 04/17/19 Page 11 of 16 Page ID
                                  #:671
                             Kristin Cope - 1/30/2019
                                                                                104

    1    a background check on them.
    2          Q.    So do you --
    3          A.    But a simple checkmark of this electronic
    4    signature here just allows for them to essentially move
    5    on and complete the entirety so that the packet will go
    6    into our next system.
    7          Q.    So it's your testimony that if a person never
    8    electronically signs on page 6, that 7-Eleven is still
    9    able to obtain a consumer report or a background check
   10    on a consumer?
   11                      MS. TROTTER:      I'm going to object as
   12    phrased because as phrased it calls for a legal
   13    conclusion.     I think you can ask her whether 7-Eleven
   14    does without the signature, but I think as phrased
   15    you're asking can 7-Eleven, which calls for a legal
   16    conclusion.
   17          Q.    Well, does 7-Eleven consider itself able to
   18    obtain a background check or a consumer report on
   19    someone if they haven't signed on 000006?
   20                      MS. TROTTER:      Also, it's overbroad as
   21    phrased.    As to -- depending on, I guess, who and the
   22    jurisdiction, so as phrased it includes, I guess, you're
   23    asking nationwide.
   24                      MR. WOODROW:      Yeah.
   25          A.    So this information is not submitted until



        Collins Realtime Reporting - Dallas, Texas - 214-220-2449
Case 2:18-cv-03893-RGK-AGR Document 70-4 Filed 04/17/19 Page 12 of 16 Page ID
                                  #:672
                              Kristin Cope - 1/30/2019
                                                                                105

    1    that checkmark on the last page is signed because it is
    2    all through integrations.
    3          Q.    Right.
    4          A.    So the system considers this form is allowed
    5    to be submitted when the checkmark on page 6 is complete
    6    and then it is electronically submitted to Sterling.
    7          Q.    Has 7-Eleven ever obtained a background check
    8    regarding an applicant who didn't sign the document
    9    reflected at page 6?
   10          A.    I do not know.
   11          Q.    Has 7-Eleven ever only relied on the supposed
   12    signature present on page 3 to obtain a background
   13    check?
   14          A.    I do not know.
   15          Q.    When you say the system's integrated, you mean
   16    that it's automated, correct?
   17          A.    Correct.
   18          Q.    Okay.    So if the person doesn't sign on page
   19    6, the check box doesn't appear and the information is
   20    never sent to Sterling, correct?
   21          A.    That is correct.
   22          Q.    So in order for the information to be sent to
   23    Sterling, they must sign on page 6, correct?
   24          A.    That is correct.
   25          Q.    Going to page 11, do you see the employee



        Collins Realtime Reporting - Dallas, Texas - 214-220-2449
Case 2:18-cv-03893-RGK-AGR Document 70-4 Filed 04/17/19 Page 13 of 16 Page ID
                                  #:673
                             Kristin Cope - 1/30/2019
                                                                                110

    1    see in relation to this certain process.
    2          Q.    Can you turn to page 86 for me.          And you see
    3    where it says background checks?
    4          A.    I do.
    5          Q.    Can you read the first paragraph?
    6          A.    For U.S. locations, background checks are
    7    initiated in Hire Right when you change the status of
    8    your candidate to Hired.        Background checks must be
    9    complete before the candidate can start working.
   10          Q.    Is that still true, that background checks
   11    must be complete before the candidate can start working?
   12          A.    No.
   13          Q.    Okay.    Do you know when that changed?
   14          A.    From my knowledge, that has never been the
   15    case.
   16          Q.    So from your knowledge, this sentence,
   17    background checks must be complete before the candidate
   18    can start working, is not correct?
   19          A.    In reference to store-level applicants,
   20    correct.
   21          Q.    Is there a difference for the nonstore-level
   22    applicants?
   23          A.    Yes.    Our nonstore-level applicants complete
   24    their background checks prior to begin working.
   25          Q.    So the store-level folks like Munoz, they're



        Collins Realtime Reporting - Dallas, Texas - 214-220-2449
Case 2:18-cv-03893-RGK-AGR Document 70-4 Filed 04/17/19 Page 14 of 16 Page ID
                                  #:674
                             Kristin Cope - 1/30/2019
                                                                                111

    1    allowed to start working before the background check is
    2    clear, correct?
    3          A.    That is correct.
    4          Q.    But the nonstore-level folks, their background
    5    checks have to be complete before they can start
    6    working?
    7          A.    That is correct.
    8          Q.    All right.     So before when I was asking you
    9    questions about it this morning, we didn't draw a
   10    distinction, but now there is a distinction between the
   11    store-level and the nonstore-level employees?
   12          A.    Yes.
   13          Q.    Okay.    And has that always been the case while
   14    you were -- while you've been working at 7-Eleven?
   15          A.    Correct.
   16          Q.    Okay.    So when it says, Background checks must
   17    be complete before the candidate can start working, your
   18    testimony is that that sentence only applies to the
   19    nonstore-level employees?
   20          A.    That is correct.
   21          Q.    And what do you call the nonstore-level
   22    employees?
   23          A.    Nonstore.
   24          Q.    Okay.    So in terms of the background check
   25    disclosure and authorization form that we went through



        Collins Realtime Reporting - Dallas, Texas - 214-220-2449
Case 2:18-cv-03893-RGK-AGR Document 70-4 Filed 04/17/19 Page 15 of 16 Page ID
                                  #:675
                             Kristin Cope - 1/30/2019
                                                                                152

    1          Q.    What kind of lead time do you need in order to
    2    make the change?
    3                      MS. TROTTER:      Calls for speculation.
    4          Q.    In your experience?
    5          A.    It varies on the extent of the changes.            If
    6    it's building a new form, it could take a lot longer
    7    than simply just updating a document.
    8          Q.    Do you recall what that process was like in
    9    April 2016?
   10          A.    I don't.
   11          Q.    Do you recall what it was like in June
   12    of 2017?
   13          A.    Well, the form had already been provided to
   14    Equifax, it was just not being utilized by our stores
   15    until June of 2017.
   16          Q.    So the heavy lifting was back in April
   17    of 2016?
   18          A.    Correct.
   19          Q.    7-Eleven has provided in discovery responses
   20    that approximately 57,000 employees and applicants got
   21    the same FCRA disclosure as Munoz and had a background
   22    check performed on them by Sterling; is that correct?
   23          A.    That is correct.
   24          Q.    How did you arrive at that number?
   25          A.    So based on what we discussed earlier with the



        Collins Realtime Reporting - Dallas, Texas - 214-220-2449
Case 2:18-cv-03893-RGK-AGR Document 70-4 Filed 04/17/19 Page 16 of 16 Page ID
                                  #:676
                             Kristin Cope - 1/30/2019
                                                                                153

    1    filters that you can utilize to pull information out of
    2    the applicant tracking system, so it's based on if
    3    they're a corporate store from June of 2017 through the
    4    date that the report was produced in October.             And then
    5    it's also based on if it was a nonstore and somebody
    6    that was sent the form in 2016.
    7          Q.    You said nonstore?
    8          A.    Yes, the above store.
    9          Q.    When you say the nonstores, we're talking
   10    about those employees who don't work at the stores?
   11          A.    Correct.
   12          Q.    Like you?
   13          A.    Correct.
   14          Q.    Okay.    Do you have 75 -- strike that.          57,000
   15    was an estimate, correct, it wasn't exactly 57,000
   16    people, was it?
   17          A.    Correct.     It was pretty close.
   18          Q.    Do you know the exact number?
   19          A.    Not off the top of my head.
   20          Q.    Okay.    Do you know if it's slightly above
   21    57,000 or slightly below?
   22          A.    I wouldn't know.
   23          Q.    Turning the page to request to produce No. 5,
   24    can you read that and the objection?
   25          A.    All Documents sufficient to identify all



        Collins Realtime Reporting - Dallas, Texas - 214-220-2449
